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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

THREVIA WEST =

VS. CIVIL ACTION NO.:
LAFAYETTE CITY-PARISH

CONSOLIDATED GOVERNMENT;

Lt. SCOTT MORGAN, INDIVIDUALLY JURY TRIAL DEMAND

AND IN HIS CAPACITY AS FORMER
CHIEF OF POLICE OF THE

LAFAYETTE POLICE DEPARTMENT;
OFFICER LAVERGNE; OFFICER HUVAL;
JOHN DOE 1; ABC INSURANCE COMPANY;
BOLGIANO & SHOTWELL

PROPERTIES, LLC.; A&L MOVERS LLC.;
AUSTIN SHOTWELL, INDIVIDUALLY AND
AS OWNER OF A&L MOVERS;

GRAYSON LINN BOLGIANO, JR. AKA
LINDY BOLGIANO, INDIVIDUALLY AND
AS OWNER OF A&L MOVERS;

JOHN DOE 2; JOHN DOE 3;

XYZ INSURANCE COMPANY 1;

XYZ INSURANCE COMPANY 2; AND

XYZ INSURANCE COMPANY 3 -

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COMPLAINT WITH JURY DEMAND

NOW INTO COURT, through undersigned counsel, comes the Petitioner, Threvia West,

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a person of the full age of majority and domiciled in Lafayette Parish, State of Louisiana, who

respectfully represents the following:

Made Defendants herein are the following:

a) LAFAYETTE CITY-PARISH CONSOLIDATED GOVERNMENT (hereinafter
“LCG”), a local government entity and body politically created by statute, being a
municipality, and political subdivision of the State of Louisiana, but not an lagency, or
department, or arm of the State of Louisiana, and owns, operates, manages, directs, and
controls the LAFAYETTE POLICE DEPARTMENT (“LPD”), which employs Defendant
Chief Morgan and Defendants John Doe #1 - #3;

b) SCOTT MORGAN (hereinafter, “Chief Morgan”), was at all relevant times to this

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person of full age and majority and domiciled in Lafayette Parish. He is sued in his
individual and official capacity;

c) OFFICER LAVERGNE, was at all relevant times to this Complaint a police officer in
the Lafayette Police Department, is a person of full age and of majority, domiciled in
Lafayette Parish. He is sued in his individual capacity;

d) OFFICER HUVAL, was at all relevant times to this Complaint a police officer in the
Lafayette Police Department, is a person of full age and of majority, domiciled in
Lafayette Parish. S/he is sued in his individual capacity;

e) JOHN DOE #1, was at all relevant times to this Complaint a police officer in the
Lafayette Police Department with supervisory duties, is a person of full |age and of
majority, domiciled in Lafayette Parish. S/he is sued in his individual capacity;

g) ABC INSURANCE COMPANY, an insurance company authorized to do, and doing
business in the State of Louisiana providing general liability coverage for Chief Morgan,
Defendants Officer Lavergne, Officer Huval, John Doe #1, the LPD, and/or LCG for any
and all acts and damages occurring from the incident giving rise to this Complaint.

h) BOLGIANO & SHOTWELL PROPERTIES, LLC., a limited liability company
registered to and doing business in the State of Louisiana.

i) AUSTIN SHOTWELL, INDIVIDUALLY, AND as owner of A&L MOVERS, a
person of full age and of majority, domiciled in Lafayette Parish;

j)GRAYSON LINN BOLGIANO, JR. AKA LINDY BOLGIANO, INDIVIDUALLY,
AND as owner of A&L MOVERS, a person of full age and of majority, domiciled in
Lafayette Parish;

k) A&L MOVERS LLC., an unregistered company/ trade name for a/ Louisiana
partnership between previously named defendants Austin Shotwell and Lindy) Bolgiano,
in the State of Louisiana, Parish of Lafayette.!

I) JOHN DOE 2, EMPLOYEE OF A&L MOVERS, a person of full age and of
majority, domiciled in Lafayette Parish.

m) JOHN DOE 3, EMPLOYEE OF OF A&L MOVERS, a person of full age and of
majority, domiciled in Lafayette Parish

 

n) XYZ INSURANCE COMPANY 1 an insurance company authorized to do, and
doing business in the State of Louisiana providing general liability coverage for
Bolgiano & Shotwell Properties, LLC.

0) XYZ INSURANCE COMPANY 2 an insurance company authorized to do, and
doing business in the State of Louisiana providing general liability coverage for Austin
Shotwell.

 

After a search of the Louisiana Secretary of State website, “A&L Movers, LLC” could not be located. owever,
defendants Shotwell and Bolgiano advertise themselves to be the owners of the business operating as “A&L Movers,
LLC.,” and are the registered agents for Bolgiano & Shotwell Properties, LLC. See Exhibits # 1 and #2

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p) XYZ INSURANCE COMPANY 3 an insurance company authorized to dc
doing business in the State of Louisiana providing general liability coverage f

Bolgiano.

q) At all times relevant to this Complaint, all Defendants acted under the color

t) THIS PETITION PUTS ON NOTICE ANY EXCESS POLICY COVE
LAFAYETTE CONSOLIDATED GOVERNMENT, THE LAFAYETTE
DEPARTMENT, CHIEF SCOTT MORGAN, ANY EMPLOYEE OF THE L:
POLICE DEPARTMENT, AND ANY POTENTIAL UNION POLICY COVE
INDIVIDUAL LOUISIANA POLICE DEPARTMENT NAMED INDIVID

THIS SUIT.

JURISDICTION AND VENUE
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The United States District Court has jurisdiction over the subject matter of this

under 42 U.S.C. 1983 and 28 U.S.C. 1331, 1343(a)(3), and 1367(a).

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The Western District of Louisiana is the appropriate venue to bring this

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because the facts that give rise to Petitioner’s claims all took place within the Western District of

Louisiana.

FACTUAL ALLEGATIONS SURROUNDING DECEMBER 28, 2¢
4.

At all times relevant to this Complaint, all of the Defendants—Chief Morgan, L
Lavergne, Officer Huval, John Doe #1, Bolgiano & Shotwell Properties, LLC, Austin Shot
Bolgiano, A&L Movers, LLC. John Doe #2 and John Doe #3,—conspired and acted in concer
injure the Petitioner and all of these Defendants are jointly, severally, and/or in solido |
responsible for the Petitioner’s injuries and damages. Defendants Officer Lavergne, Officer
John Doe #1 were all law enforcement agents allegedly responding to a “theft of services'
resulted in the illegal seizure of and use of excessive force against Dr. Threvia West and

injuries to Threvia West described herein.

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On or about December 17, 2021, Complainant Dr. Threvia West began negotiations with

Shawn (spelling) and Alex (spelling)--representatives for A & L Movers (herein referred to as

Movers) over the phone to move her belongings from inside of her former residence located at

110 Robley Dr. 4108, Lafayette, La 70503 (herein referred to as Apt. 1) to her new place of

residence at 1000 Robley Dr. 1233 (herein referred to as Apt. 2). The Complainant also

negotiated with the Movers to move some items from Apt. 1 to Life Storage located in Lafayette,

Louisiana.

6.

On or about December 28, 2021, Complainant and A & L Movers entered into a contract

for $150.00 an hour for a total of 2 to 3 hours of work for a total estimate of $450.00. This

contract was based on the following:
The amount of furniture to be moved;
The distance between Apt. 1 and Apt. 2;
The distance between Apt. 1 and the storage unit; and

The amount of hours it would take to move the furniture from Apt. 1 to

from Apt. 1 to the storage unit.

Notably, neither Shawn, Alex nor any other representative from A & L Movers went

survey the amount of furniture to be moved.

q.

On December 28, 2021, at approximately 9 a.m., two male representatives”

Movers arrived at Apt. 1 to move the items located inside. After observing the amou

inside of the residence, Representative 1 offered a reduced rate to Complainant to

» Apt. 2 and

to Apt. 1 to

from A&L
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move her

furniture from Apt. 1. The reduced rate was for “half” the cost of the original hourly rate, i.c. $75

instead of $150. The Complainant accepted the reduced rate.

 

* Represntative 1 identified himself as Keith and Representative 2 is unknown. Both African American males.

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Due to the unorganization of the Movers, multiple items were delivered t

address and the Complainant had to assist the Movers with moving and delivering her

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o the wrong

furniture to

the two destinations. After eight hours of moving—which included an one hour lunch break—a

third mover’ arrived to assist with the move. There was no mention of an extra cost

mover.

9.

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At approximately 8:30 p.m., Representative 1 presented a contract‘ to the Complainant for
p

signing in the amount of $1,200.00. The Complainant refused to pay that amount, but

was willing

to pay the second negotiated rate of $750.00. At this point the representatives contacted the

owners of A & L Movers (herein referred to as The Owners). While on the phon
Owners, Representative 3 signed the contract, and again requested Complainant
contact, to no avail. The Owners then directed the representatives to contact the Lafa

Department.

10.

Officers Lavergne and Huval of the Lafayette Police Department responded to
service.° Officer Huval engaged the Complainant and the representatives for Movers.
early stages of the incident, Complainant tells Officer Huval that this is a “civil matt
Lavergne intercedes and says, “Actually this is a theft of services.”® The complainar
Officer Lavergne that “I did not steal anything. I hired them for a certain rate for a cert
of time.” Officer Lavergne in turn replies, “Well guess what, I'm gonna call my superv

are gonna talk to him.” The complainant replies, “Okay”.

di,

Officer Lavergne contacts his supervisor. While on the phone, the supervisor cs

telling Officer Lavergne to “Issue her a summons.” Officer Huval can be he

“Summons?” Officer Lavergne replies by saying, ‘He said if she refuses to pay,

summons.” Officer Lavergne exits his vehicle and begins to “Mirandize” the Co

Officer Lavargne then threatens Dr. West with an arrest if she does not pay The Mo
time did Dr. West refuse to pay the agreed upon cost. She only refused to pay

 

* This representative/mover was only known as John. A Caucasion male,

* See Exhibit #3

* The entire interaction can be seen from the Body Worn Camera of Officer Lavergne.
* There is no crime under the The Louisiana Criminal Code for Theft of Services.

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16.

Chief Morgan had a responsibility in supervising and enforcing and implementing these

training, discipline, and enforcement of these policies, customs, and practices.

V7.

In Chief Morgan’s official capacity, he was responsible for investigating use of force

incidents involving LPD officers, as well as reprimanding and disciplining LPD officers,

including Defendant police officers Officer Lavergne and Officer Huval, who use excessive

force and/or who fail to intervene when present during the use of excessive force committed by

fellow LPD officers.

18.

John Doe #1 had a responsibility in supervising and enforcing LPD training, discipline

standards and enforcement policies, customs, and practices. This included supervision

Lavergne and Officer Huval.
19.

of Officer

Based on the extreme misconduct of Defendants Officer Lavergne and Officer Huval and

upon information and belief, Defendant Chief Morgan and Defendant LCG did not properly or

adequately examine and scrutinize the background of Defendants Officer Laverg
Huval, and John Doe #1 to ensure that these officers could properly and legally car

duties as a police officer for the LPD.

20.

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Based on the misconduct of Defendants Officer Lavergne and Officer Huval, and upon

information and belief, Defendant Chief Morgan and Defendant LCG did not properly

supervise, and/or discipline Defendants Officer Lavergne, Officer Huval, and John Do

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regard to proper police practices, including unreasonable seizures or the use of excessive force

when effecting arrests and the requisite probable cause necessary to constitutionally effectuate

such an arrest.

 
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Despite Lafayette Parish being a majority white/Caucasian Parish, there is an
and practice whereby people of color are disproportionately stopped, detaine

subjected to use of force, and shot by LPD officers.

25.
Between 2010 and 2019, statistics published by LPD show 1,172 use of fi

submitted by LPD officers, equating to one approximately every three days.

26.

In this same time period, data published by LPD show a pattern, custom, and
excessive use of force, including improper use of lethal force. According to their ow

between 2010 and 2019, there were 107 civil lawsuits filed against LPD.

Za.

These lawsuits contain repeated allegations of illegal seizures, excessive use of

improper use of lethal force:

(a) In 2007, LPD was sued through LCG for putting a man in a chokehold— caus
almost pass out, dragging him to a police car, and calling him a “stupid n***a;”

(b) In 2009, LPD was sued through LCG for killing a black man in a parking lot who \
approached for suspicion of the non-violent crime of auto theft;

(c) Also in 2009, LPD was sued through LCG for knocking a man down with such f

rendered him unconscious, and refusing him necessary medications, which ca
suffer seizures;

(d) In 2010, LPD, through the LCG, settled a suit wherein an officer put a man ina

drug him to police car, and called him a “stupid n***a;” the man almost passed o

of oxygen;

(e) In 2011, LPD was sued through the LCG and settled a case for snapping a motorist
bone in half during a traffic stop;

(f) In 2012, LPD was sued through LCG for tackling a woman from behind who was a

handcuffed;

(g) In 2012, LPD was sued through LCG for wrestling a man to the ground in Wal-Mar

putting him in a chokehold;

(h) Also in 2012, LPD was sued through LCG for stopping a man as he crossed the stre

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(i) In 2013, LPD was sued through LCG for shooting and killing a man who witnesses said was

running away when shot:

(Gj) In 2016, LPD was sued through LCG for fatally shooting a man in the back as he fled a

pursuit;

(k) Also in 2016, LPD was sued through LCG for officers repeatedly harassing and battering two

teenage brothers;

(1) In 2017, the ACLU sued LPD through the LCG for taking a woman’s camera who was

documenting the violence of LPD officers against her son and deleting the evidence of their
excessive force from the camera;

(m) In 2020, LPD was sued through LCG for the fatal shooting of a mentally ill man who was

calmly walking away from officers, posing no danger to others;

(n) In 2021, LPD was sued through LCG for the violent arrest of an unarmed man sitting ona

curb that resulted in him being tackled with such force that his head was brutally smashed
into the concrete, causing extreme injury. In fact, one of the LPD officers who allegedly
committed the unlawful use of force against the victim could be heard speaking to another
officer on body camera video saying he would “have Sarge do a use of force to cover both of

our asses.”

(0) In 2017, LPD was sued through LCG for (1) excessive force; (2) unreasonabl
unlawful detention; and (4) unreasonable and unlawful arrest, in violation o
Amendment.

seizure (3)
the Fourth

(p) Management and administrative officials in LCG and LPD were aware of several prior
instances of police officers in its employ illegally and unlawfully violating the ee

rights of its citizens, yet did nothing to investigate these incidences to determine
these violations and take the necessary steps to preclude their recurrence.

28.

e causes of

Numerous other lawsuits have been filed in federal court alone detailing unreasonable

search and seizure, excessive use of force, improper training, improper hiring, and improper

discipline against LPD.

29,

Additionally, in 2012, the LPD was sued for their lack of supervision and proper

discretion in hiring and training officers, for their misconduct, and handling of

Specifically, the plaintiffs alleged that the leadership of LPD “created, fostered, engen

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evidence.

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concealment of police misconduct, retaliations, retributions, and reprisals against those who

report such misconduct, a gross distortion of the truth.”

a0.

In 2020, an LPD officer yanked a woman from his police SUV and hogtied her as she lay

face-down, bleeding in the street. The officer’s force caused her to hit her chin on the floorboard

and street, sustaining broken ribs and an injury to her chin.
31,

The above lawsuits and events demonstrate that the incident with Dr. Threvia West is not

an outlicr but rather part of a continuing pattern, custom, and practice of LPD as part of LCG

targeting African Americans and other individuals and then committing excessive and unjustified

use of force against such African Americans and other individuals.

32.

Upon information and belief, Chief Morgan and the LPD, as part of LCG, have not

changed their hiring, training, or supervision policies and their enforcement despite this subject

incident and the numerous use of force complaints and lawsuits filed against the LCG and its
police department officers and police chief.

33.

Further, upon information and belief, Chief Morgan and the LPD, as part of LCG, has a

history of not properly or adequately disciplining or firing officers, including Defendants Officer

Lavergne, Officer Huval, and John Doe #1 when they engage in illegal or improper conduct,

including making arrests without probable cause and using excessive force against citizens when

effecting an arrest.

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Upon information and belief, Chief Morgan investigated the subject incident giving rise to
this lawsuit, but did not properly or adequately discipline or reprimand Defendants Officer

Lavergne, Officer Huval, and John Doe #1, for their actions involving Dr. Threvia West.

a5.

In addition to the numerous complaints and lawsuits alleging the use of unjustified
excessive force by LPD police officers, Defendants Officer Lavergne, and Officer Huval, use of
excessive force against Dr. Threvia West in this case is evidence of and shows a clear pattern of
the LPD’s use of excessive, unjustified, and improper force against citizens of/in Lafayette
Parish, such as Dr. Threvia West.

36.

Defendants Officer Lavergne and Officer Huval’s extreme misconduct and use of
excessive force and illegal seizure was a product of this environment and undertaken pursuant to
de facto policies, practices, and/or customs—both written and unwritten—of the LP , the LCG,
and Chief Morgan. Chief Morgan and/or the LCG are guilty of the following wrongful acts,

including but not limited to:

1. Failing to properly hire, supervise, and train LPD officers, including Officer Lavergne
and Officer Huval

N

- Failure to promulgate, train, and enforce an adequate and constitutional use of force
policy;

Go

. Failure to promulgate, train, and enforce an adequate and constitutional de-escalation
tactics;

4. Failure to promulgate, train, and enforce an adequate and constitutional search and
seizure policy;

5. Failure to promulgate, train, and enforce an adequate and constitutional non
discriminatory law enforcement practices to protect African-American citizens of
Lafayette Parish;

6. Failing to reprimand and discipline LPD officers, including Officer Lavergne and
Officer Huval, who engage in misconduct and use of excessive force;

7. Failing to reprimand and discipline LPD officers, including Officer Lavergne and
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8. Failing to retrain and/or otherwise control LPD officers, including Officer Lavergne

and Officer Huval, who engage in the use of excessive force;

9. Failing to retrain and/or otherwise control LPD officers, including Officer Lavergne

and Officer Huval, who engage in illegal searches and seizures;

10. Failing to follow appropriate policies and procedures to address and correct repeated

use of excessive force;

11. Failing to follow appropriate policies and procedures to address and correct repeated

instances of illegal searches and seizures;

12. Failing to adequately investigate complaints and allegations of the use of excessive
force, illegal searches and seizures, and other misconduct by LPD officers, including
the complaints and allegations surrounding Officer Lavergne and Officer Huval;

13. Tacitly approving of LPD officers, includingOfficer Lavergne and Officer Huval,

using their power and position to interfere with other citizens’ rights;

14. As a matter of both policy and practice, Chief Morgan and the LCG facilitating the
misconduct of Officer Lavergne and Officer Huval by failing to protect civilians from

reckless indifference of the LPD’s agents, servants, and employees; and

15. Allowing the practice and custom of a “police code of silence,” resulting in LPD

Officers, including Officer Lavergne and Officer Huval, refusing to report i
police misconduct of which they are aware.

37.

At all times relevant to this Complaint, the conduct of Chief Morgan, the LC

nstances of

LG, Officer

Lavergne, Officer Huval, and John Doe #1 were in willful, reckless, and callous disregard for Dr.

Threvia West’s constitutional rights under federal and state law.

38.

As a direct result and proximate result of the conduct of Chief Morgan, the LCG, Officer

Lavergne, Officer Huval, and John Doe, Dr. Threvia West has suffered and continu

es to suffer

extraordinary damages, including the prolonged loss of liberty, emotional distress, and trauma,

loss of the enjoyment of life, psychological harm, and pain and suffering, some of which may be

permanent, as well as financial losses.

13

 
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DR. THREVIA WEST’S CAUSES OF ACTION
Count I

Federal Constitutional Claims

Violation of 42 U.S.C. § 1983:
Unreasonable Seizure in Violation of Fourth and Fourteenth Amendment Rights

(Dr. Threvia West Against Defendants Officer Lavergne and Officer Huval in
Their Individual Capacities)
39.

As alleged above herein, the actions or inactions of Defendant officers Officer Lavergne,

and Officer Huval violated Dr. Threvia West’s rights under the Fourth and) Fourteenth

Amendments to be free from unreasonable seizures.

40.

As a result of the actions and inactions of Defendant officers Officer Lavergne, Officer
Huval, and John Doe #1, as alleged herein, Dr. Threvia West has suffered damages including: (1)
the loss of liberty and freedom; (2) mental and emotional injury; (3) physical injury, pain and
suffering; and (4) any other special and general damages and expenses, in an amount to be
proven at trial.

Count IT
Federal Constitutional Claims
Violation of 42 U.S.C. § 1983:
Use of Excessive Force in Violation of Fourth and Fourteenth Amendment
Rights (Dr. Threvia West Against Defendants Officer Lavergne and Officer
Huval in Their Individual Capacities)

Al.

As alleged above herein, the actions or inactions of Defendant officers Officer Lavergne

and Officer Huval violated Dr. Threvia West’s rights under the Fourth and Fourteenth

Amendments to be free from the unlawful use of excessive force.

14

 
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As a result of the actions and inactions of Defendant Officer Lavergne, Officer Huval and
John Doe #1, as alleged herein, Dr. Threvia West has suffered damages including: (1) the loss of
liberty and freedom; (2) mental and emotional injury; (3) physical injury, pain and suffering; and

(4) any other special and general damages and expenses, in an amount to be proven at trial.

Count II
Federal Constitutional Claims
Violation of 42 U.S.C. § 1983:
Monell Claims
(Dr. Threvia West Against Defendant Chief Morgan in His Official Capacity, John Doe #1
in His Official capacity, and Defendant LCG)
43.

The actions or inactions of the LCG, Chief Morgan in his official capacity as the chief of
police for the LPD, and John Doe #1 in his official capacity of LPD supervising officer, as
alleged in this Complaint, with respect to John Doe #1’s, Chief Morgan’s and LCG’s failures to
properly and adequately train, supervise, and discipline Defendant officers Officer Lavergne and
Officer Huval violated Dr. West’s rights under the Fourth and Fourteenth Amendments to the
U.S. Constitution to be free from the unlawful use of force, directly or proximately causing Dr.
West’s injuries.

44,

The actions or inactions of the LCG, Chief Morgan, and John Doe #1 as alle ged in this
Complaint, violated Dr. West’s Fourth and Fourteenth Amendments Rights to the U.S.
Constitution, directly or proximately causing her injury and suffering by the LCG’s, Chief
Morgan’s and John Doe #1’s approval, use of, and/or failure to correct the uncohstitutional

policies, practices, patterns, and/or customs of the LPD with respect to making decisions to

arrest, and effecting the arrest of African Americans.

15

 
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45,
The LCG, Chief Morgan, and John Doe #1 permitted, encouraged, tolerated, and
acquiesced in an official pattern, practice or custom of LPD officers, including L

Officer Lavergne and Officer Huval, of violating the constitutional rights of the pub

including Dr. Threvia West

46.

The LCG, Chief Morgan, and John Doe #1 had been put on notice of the nee
and training in the use of excessive force and race-based policing due to the nur
injuries and deaths of persons arrested by LPD officers.

47.

The actions of LPD officers Officer Lavergne and Officer Huval, as descri
were unjustified, unreasonable, unconstitutional, excessive and grossly disproportio
actions of Dr. Threvia West— who was not armed and did not pose a threat—and cot
unreasonable search and seizure effectuated through the use of excessive force and a

of Dr. West’s constitutional rights that are secured to her by the Fourth and

Amendments of the United States Constitution.

48.

The actions and inactions of LPD officers Officer Lavergne and Officer Huval descr

were in direct violation of the constitution, law and regulations of the United States an

of Louisiana.

49.

The LCG, Chief Morgan, and John Doe #1 condoned, approved, ratified, faci

knowingly acquiesced in the actions of LPD officers Officer Lavergne and Officer

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LPD officers Officer Lavergne and Officer Huval for their actions.
50.

The violations of Dr. Threvia West’s constitutional rights under the Fourth and Fourteenth
Amendments to the U.S. Constitution, her damages, and/or the conduct of Officer Lavergne and
Officer Huval were directly and proximately caused by the actions and/or inactions of the LCG,
Chief Morgan and John Doe #1, who have encouraged, tolerated, ratified, and have been
deliberately indifferent to the following policies, patterns, practices, and customs, and to the need
for more or different training, supervision, investigation, or discipline in the areas of:

a, Use of force by police officers;

b. Police officers’ duties and responsibilities to engage in proper de-escalation
techniques;

c. The proper exercise of police powers, including not limited to the making of an
arrest and the use of force;

d. Police officers’ duties not to unnecessarily use force;

e. The failure to identify and take remedial or disciplinary action against officers
who were the subject of prior civilian or internal complaints of misconduct;

f. Failing to retrain and/or otherwise control officers who engage in excessive
force and/or unjustified shooting against civilians;

g. Failing to follow appropriate policies and procedures to address and correct
repeated use of excessive force;

h. The hiring and retention of officers who are unqualified for their employment
positions;

i. Failure to require, discipline, and supervise their officers for not reporting
illegal, impermissible, improper, or any other conduct of other officers that is
unbefitting of an officer or violates department policies and protocols;

J. Officers’ use of their status as a police officer to employ the use of force or to
achieve ends not reasonably related to their law enforcement duties;

k. Officers’ decision to target individuals because of previous encounters with said
individual;

1. The failure of officers to follow established policies, procedures, directive, and
instructions regarding arrests, use of force, and institution of criminal charges

17

 
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m. The failure to properly sanction or discipline deputies who are aware of and
conceal and/or aid and abet violations of constitutional rights of citizens by other
officers;

n. As a matter of both policy and practice, the LCG, Chief Morgan, and John Doe
#1 facilitating the type of misconduct alleged herein by failing to protect civilians
from reckless indifference or their departments’ agents, servants, and employees.
SI.
The LCG, Chief Morgan and John Doe #1 had actual or constructive notice of the

deficiencies with the policies, practices and customs of the LPD that make officer misconduct a

foreseeable consequence.

52.
The LCG, Chief Morgan and John Doe #1 knew, must have known, or should have known that

the above referenced policies, practices, and/or customs, would likely lead to serious injury or

death to citizens and that such injuries were foreseeable; yet, disregarded that risk.

a3:
The aforementioned policies, practices and customs were inadequate in relation to the specific

tasks LPD police officers must routinely perform and with respect to activities where|there is an

obvious need for proper policies, practices and customs and therefore, illustrated its deliberate

indifference and/or reckless disregard to the consequences of officer misconduct.
54.

The LCG, Chief Morgan, and John Doe #1’s above referenced policies, practices, and/or
customs violated Dr. Threvia West’s constitutional rights; and said policies, practices and/or
customs were the moving force behind and proximate cause of said violations.

55.

The LCG, Chief Morgan, and John Doe #1’s above referenced policies, practices and/or

customs demonstrated a deliberate indifference to the constitutional rights of the public, including

Dr. Threvia West’s, and was the proximate cause of the injuries and damages sustained by her.,

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56.

By failing to recognize or correct the deficiencies with his policies, practices and customs,

the LCG, Chief Morgan, and John Doe #1 consciously disregarded the known and foreseeable

consequences thereof.

a7,

The LCG, Chief Morgan, and John Doe #1’s deliberately indifferent policies, practices

and customs were the moving force behind Dr. West’s injuries and the deprivation of his

constitutional rights.

38.

There is a direct causal link between the policies, practices and customs of the LCG, Chief

Morgan, and John Doe #1 and the injuries to and violation of Dr. West’s constitutional rights.

3.

As a direct and proximate result of the foregoing policies, practices and customs of the

LCG, Chief Morgan, and John Doe #1, the violation of the constitutional rights of

the public,

including Dr. West, by LPD officers Officer Lavergne and Officer Huval, was substantially

certain to occur.

60.

As a result of the foregoing policies, practices and customs of the LCG, Chief Morgan,

and John Doe #1, Dr. West has suffered damages including: (1) the loss of her
freedom; (2) mental and emotional injury; (3) physical injury, pain and suffering; a

other special and general damages and expenses, in an amount to be proven at trial.

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Count IV

State Law Claims

(Dr. Threvia West Against Defendant Chief Morgan in His Individual and Official

Capacity, John Doe #1 i in His Individual and Official Capacity and Defendant
LCG)

61.
The LCG, Chief Morgan, and John Doe #1 are responsible and liable to Dr. Threvia West
for the damages and injuries she has suffered as a result of Defendant officers Officer Lavergne
and Officer Huval actions and/or inactions pursuant to Louisiana Code of Civil Procedure Article
2315, which provides that “[e]very act whatever of man that causes damage to another obliges
him by whose fault it happened to repair it”; Louisiana Code of Civil Procedure Article 2316,
which provides that “[e]very person is responsible for the damage he occasions not merely by his
act, but by his negligence, his imprudence, or his want of skill”; Louisiana Code of Civil
Procedure Article 2317, which provides that “[w]e are responsible, not only for the damage
occasioned by our own act, but for that which is caused by the act of persons for whom we are
answerable, or of the things which we have in our custody”; and Louisiana Code of Civil
Procedure Article 2320, which provides that “[m]asters and employers are answerable for the
damage occasioned by their servants and overseers, in the exercise of the functions in which they

are employed...responsibility only attaches, when the masters or employers...might have

prevented the act which caused the damage, and have not done it.”

62.
The actions and/or inactions of Defendant officers Officer Lavergne and Officer Huval,
for which Chief Morgan, John Doe #1, and the LCG are responsible for under the law of the
State of Louisiana, constitute the torts of:
a. Battery;
b. Assault; and

b. Intentional Infliction of Emotional Distress

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63.

The actions and/or inactions of Chief Morgan and John Doe #1, as alleged herein,

constitute the state law torts of:

a. Intentional Infliction of Emotional Distress;
b. Negligent Hiring;

c. Negligent Retention;

d. Negligent Supervision; and

e. Malfeasance in Office

64.

As a result of the above torts committed by the Defendant officers Officer Lavergne and

Officer Huval, Chief Morgan, John Doe #1 and the LCG, Dr. Threvia West has suffered damages

including: (1) the loss of her liberty and freedom; (2) mental and emotional injury; (3) pain and

suffering; and (4) any other special and general damages and expenses, in an amount to be

proven at trial.

Count V
State Law Claims
(Dr. Threvia West Against Defendants Officer Lavergne and Officer
Huval)

65.

Defendants Officer Lavergne and Officer Huval are responsible and liable to Dr. Threvia

West for the damages and injuries she has suffered as a result of said Defendants’ act
inactions pursuant to Louisiana Code of Civil Procedure Article 2315, which pre

“[elvery act whatever of man that causes damage to another obliges him by whe

happened to repair it”; Louisiana Code of Civil Procedure Article 2316, which prc

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negligence, his imprudence, or his want of skill”; and Louisiana Code of Civil Procedure Article

2317, which provides that “[w]e are responsible, not only for the damage occasioned
act, but for that which is caused by the act of persons for whom we are answerabl

things which we have in our custody.”

66.

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e, or of the

The actions and/or inactions of Defendants Officer Lavergne and Officer Huval constitute

the state law torts of:
a. Battery;
b. Assault; and

c. Intentional Infliction of Emotional Distress

67.
The actions and/or inactions of Defendant officers Officer Lavergne and Of

constitute violations of Petitioner’s Louisiana Constitution Article I §5 Right to

ficer Huval

Privacy be

secure in her person, property, communications, houses, papers, and effects against unreasonable

searches, seizures, or invasions of privacy

68.

As a result of the above torts committed by the Defendant officers Officer Lavergne and

Officer Huval, Dr. Threvia West. has suffered damages including: (1) the loss of her

liberty and

freedom; (2) mental and emotional injury; (3) physical injury, pain and suffering; and (4) any

other special and general damages and expenses, in an amount to be proven at trial.

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State Law Claims
(Dr. Threvia West Against Defendants Bolgiano & Shotwell
Properties, LLC, Austin Shotwell, Lindy Bolgiano, A&L Movers,
LLC., John Doe #2, and John Doe #3)

69.

Defendants Bolgiano & Shotwell Properties, LLC, Austin Shotwell, Lindy

Bolgiano,

A&L Movers, LLC., John Doe #2, and John Doe #3, are responsible and liable to|Dr. Threvia

West for the damages and injuries she has suffered as a result of said Defendants’ actions and/or

inactions pursuant to Louisiana Code of Civil Procedure Article 2315, which provides that

“[e]very act whatever of man that causes damage to another obliges him by whose fault it

happened to repair it”; Louisiana Code of Civil Procedure Article 2316, which provides that

“[e]very person is responsible for the damage he occasions not merely by his act

but by his

negligence, his imprudence, or his want of skill”; and Louisiana Code of Civil Procedure Article

2317, which provides that “[w]e are responsible, not only for the damage occasioned by our own

act, but for that which is caused by the act of persons for whom we are answerable, or of the

things which we have in our custody.”

40.

The actions and/or inactions of Defendants Bolgiano & Shotwell Properties, LLC,

Austin Shotwell, Lindy Bolgiano, and A&L Movers, LLC., John Doe #2, and John Doe #3

constitute the state law torts of:

a. Intentional Infliction of Emotional Distress

7A.

The actions and/or inactions of Defendants Bolgiano & Shotwell Properties, LLC,

Austin Shotwell, Lindy Bolgiano, and A&L Movers, LLC., John Doe #2, and John Doe #3

constitute violations of:

a. La. Civ. Code art. 1756;

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c. La. Civ. Code art. 1994
We

As a result of the above Louisiana torts and Louisiana civil code violations committed by
the Defendants Bolgiano & Shotwell Properties, LLC, Austin Shotwell, Lindy Bolgiano, A&L
Movers, LLC., John Doe #2, and John Doe #3, Dr. Threvia West. has suffered damages
including: (1) mental and emotional injury; (2) pain and suffering; and (3) any other special and

general damages and expenses, in an amount to be proven at trial.

JURY TRIAL DEMAND
TN:

Petitioner requests a trial by jury.

PRAYER FOR RELIEF
74.

The Petitioner respectfully requests:

a. Compensatory damages as to all Defendants:

b. Special Damages as to all Defendants:

c. Punitive damages as to all Defendants sued in their individual capacity;

d. Reasonable attorneys’ fees and costs as to all Defendants;

e. Such other and further relief as may appear just and appropriate

WHEREFORE, Dr. Threvia West prays that a copy of this Complaint is served upon all
of the Defendants named herein, and that after all proceedings a judgment is rendered in favor of
Petitioner and against all Defendants jointly, severally, and/or in solido for all relief deemed

equitable under the law including attorney’s fees and costs.

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Respectfully submitted,

a

Ryan K. Thompson, IA Bat #389
Attorney for Petitioner
12827 Country Ridge Ave
Baton Rouge, LA 70816
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